  Case: 3:94-cv-00078-RAM-RM Document #: 1133 Filed: 08/02/19 Page 1 of 3



                DISTRICT COURT OF THE VIRGIN ISLANDS
                 DIVISION OF ST. THOMAS & ST. JOHN

LAWRENCE CARTY, et al.,                 )
                                        )
                Plaintiff,              )
                                        )
                v.                      )     Civil No. 1994-78
                                        )
ALBERT BRYAN, et al.,                   )
                                        )
                Defendants.             )
                                        )

ATTORNEYS:

Eric Balaban
National Prison Project of the ACLU
Washington, DC
     For the plaintiff Lawrence Carty,

Denise George-Counts, Attorney General
Carol Thomas-Jacobs, AAG
Ariel Marie Smith-Francois, AAG
Virgin Islands Department of Justice
Christiansted, VI
     For the defendant Governor Albert Bryan.

                                  ORDER
GÓMEZ, J.

     On August 1, 2019, the Court held a status conference with

the parties. At that conference, the parties discussed how the

Virgin Islands Bureau of Corrections (“BOC”) could make

meaningful tangible inroads toward obtaining substantial

compliance with the Settlement Agreement adopted and entered as

an Order of the Court on August 29, 2013, (the “2013 Settlement

Agreement”) and the October 12, 1994, Settlement Agreement (the

“1994 Settlement Agreement”) in this matter. The Court suggested
  Case: 3:94-cv-00078-RAM-RM Document #: 1133 Filed: 08/02/19 Page 2 of 3
Carty, et al., v. Bryan, et al.
Civil No. 94-78
Order
Page 2

that Dr. Kathryn Burns (“Burns”), the court-appointed mental

health expert, and David Bogard (“Bogard”), the court-appointed

security expert, (collectively referred to herein as the “Court

Experts”) each formulate and submit an independent plan

outlining a pathway to compliance. The parties agreed that such

and undertaking would be beneficial.

     Thereafter, the Court held a status conference with the

Court Experts. During that conference, consistent with the

agreement of the parties, the Court requested, and the Court

Experts agreed, that Burns and Bogard each would submit an

independent plan that would outline specific, demonstrable, and

tangible tasks necessary to be undertaken to obtain substantial

compliance with the provisions of the 1994 and 2013 Settlement

Agreements, which tasks are expected to be completed in the

short-term (by the end of August, 2019, and September, 2019);

near-term (by the end of the quarter); mid-term (within six

months); and long-term (beyond six months).

     The premises considered, it is hereby

     ORDERED that the Court Experts shall each file a plan

proposing specific, demonstrable, and tangible tasks necessary

to be undertaken to obtain substantial compliance with the

provisions of the 1994 and 2013 Settlement Agreements, which
  Case: 3:94-cv-00078-RAM-RM Document #: 1133 Filed: 08/02/19 Page 3 of 3
Carty, et al., v. Bryan, et al.
Civil No. 94-78
Order
Page 3

tasks shall be completed in the short-term, by no later than

5:00 p.m. on August 5, 2019, it is further

     ORDERED that to the extent they wish to do so, the parties

shall file any objections to the Court Experts’ proposed short-

term tasks, by no later than 5:00 p.m. on August 7, 2019, it is

further

     ORDERED that the Court Experts shall each file a plan

proposing specific, demonstrable, and tangible tasks necessary

to be undertaken to obtain substantial compliance with the

provisions of the 1994 and 2013 Settlement Agreements, which

tasks shall be completed in the near-term, mid-term, and long-

term, by no later than 5:00 p.m. on August 19, 2019, it is

further

     ORDERED that to the extent they wish to do so, the parties

shall file any objections to the Court Experts’ proposed near-

term, mid-term, and long-term tasks, by no later than 5:00 p.m.

on August 23, 2019, it is further

     ORDERED that the parties shall provide copies of this order

to the Court Experts.



                                        S\
                                              Curtis V. Gómez
                                              District Judge
